 8:03-cr-00384-LES-TDT          Doc # 60      Filed: 08/19/05      Page 1 of 2 - Page ID # 190




                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                          8:03CR384
                                    )
            v.                      )
                                    )
COURTNEY D. NELSON,                 )                           ORDER
                                    )
                  Defendant.        )
____________________________________)


               On August 19, 2005, defendant appeared through counsel on a motion for

reduction of sentence (Filing No. 48), filed by the plaintiff, pursuant to Rule 35 of the Federal

Rules of Criminal Procedure. After considering the comments of the parties and after evaluating

the assistance provided by the defendant, the Court finds that the government’s motion for

reduction of sentence should be granted. The Court recommends to the Bureau of Prisons that

the defendant participate in the 500-hour Comprehensive Drug Treatment Program or any similar

drug treatment program available. Accordingly,

               IT IS ORDERED:

               1) The government’s motion for reduction of sentence is granted.

               2) Defendant be committed to the custody of the Bureau of Prisons for a term of

48 months. Defendant is to be given credit for time previously served under the previous

Judgment and Committal Order dated February 19, 2004, which was signed and filed on March

8, 2004 (Filing No. 41).

               3) All other terms and conditions of the Judgment and Committal Order dated

February 19, 2004, remain in full force and effect.
8:03-cr-00384-LES-TDT     Doc # 60      Filed: 08/19/05    Page 2 of 2 - Page ID # 191




          4) That the transcript of the Rule 35 hearing of August 19, 2005, be sealed.

          DATED this19th day of August, 2005.

                                               BY THE COURT:

                                               /s/ Lyle E. Strom

                                               LYLE E. STROM, Senior Judge
                                               United States District Court




                                           2
